             Case 23-03061 Document 20 Filed in TXSB on 06/22/23 Page 1 of 1
                                                                                                          United States Bankruptcy Court
                                                                                                              Southern District of Texas

                                                                                                                 ENTERED
                                                                                                                 June 22, 2023
   UNITED STATES BANKRUPTCY COURT                                                SOUTHERN DISTRICTNathan
                                                                                                   OF TEXAS
                                                                                                         Ochsner, Clerk



                                              MOTION AND ORDER
                                          FOR ADMISSION PRO HAC VICE

             Division                Houston, TX               Adversary Case Number                  23-03061
               David Dunn, as Trustee of the Basic Energy Litigation Trust
                                                            versus
                                               Lawrence First, et al.

   This lawyer, who is admitted to the State Bar of                        California                     :

                           Name                                  Virginia Milstead
                           Firm                                  Skadden, Arps, Slate, Meagher & Flom LLP
                                                                 300 South Grand Avenue
                           Street
                                                                 Los Angeles, CA 90071
                     City & Zip Code                             (213) 687-5592
                        Telephone                                CA Bar No. 234578
                 Licensed: State & Number

   Seeks to appear as the attorney for this party:

    Defendants Timothy H. Day, John E. Jackson, James D. Kern, Samuel E. Langford, Julio M. Quintana, and Keith L. Schilling



    Dated:    6115/eoes                          Signed:   V.7 instead


    COURT USE ONLY: The applicant’s state bar reports their status as:                                               .


    Dated:                                       Signed:
                                                                     Deputy Clerk


                                                              Order (Docket No. 19)

The lawyer shall review the Local Rules, the Complex Case Procedures and the Court's published procedures.
                                   This lawyer is admitted pro hac vice.

   Dated:
         Signed: June 22, 2023                                       United States Bankruptcy Judge

                                                                ____________________________________
                                                                DAVID R. JONES
                                                                UNITED STATES BANKRUPTCY JUDGE
